Case 1:22-cv-00497-JMC Document 47-1 Filed 06/09/24 Page1of5

EXHIBIT 1
Case 1:22-cv-00497-JMC Document 47-1 Filed 06/09/24 Page 2 of 5
Case 2:23-cv-04567-NIQA Document 17 Filed 06/07/24 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DANIEL M. DILELLA, et al., : CIVIL ACTION
Plaintiffs :
: NO. 23-4567
v.
RENEE BURCHARD, et al.,
Defendants
ORDER

AND NOW, this 7 day of June 2024, upon consideration of Defendants’ motion to
transfer venue, (ECF 10), Plaintiffs’ response in opposition, (ECF 15), Defendants’ reply, (ECF
16), and the allegations in the complaint, (ECF 1), it is hereby ORDERED that Defendants’
motion to transfer venue is GRANTED. Accordingly, the Clerk of Court is directed to
TRANSFER this matter to the United States District Court for the District of Columbia,' and to

mark this matter CLOSED.

; Plaintiffs Daniel M. DiLella (“Plaintiff DiLella”) and Frank Giordano (“Plaintiff Giordano”)
(collectively, “Plaintiffs”) filed this action against Defendants Renee Burchard (“Defendant Burchard”),
Kristi Garlock (“Defendant Garlock”), Anna Laymon (“Defendant Laymon”), Keri Potts (“Defendant
Potts”), and John and Jane Does 1-5 (collectively, “Defendants”), asserting claims for abuse of process
(Count I), malicious prosecution (Count II), and civil conspiracy (Count III).

According to the complaint, Defendants were employees of the America 250 Foundation (the
“Foundation”), a private not-for-profit entity contracted by the United States Semiquincentenial
Commission (the “Commission”) to assist with the planning of the nation’s 250" anniversary celebration.
Plaintiff DiLella was appointed Chairperson and Plaintiff Giordano was hired as Executive Director of the
Commission. Defendants Laymon and Potts left the Foundation in September 2021, and Defendants
Burchard and Garlock left in December 2021. On February 25, 2022, Defendants filed a lawsuit in the
United States District for the District of Columbia (the “D.D.C.”) against the Foundation, the Commission,
and the Commission’s administrative secretariat, the American Battlefield Trust, asserting claims related
to whistleblower retaliation and gender discrimination, (the “DC Litigation”). See Burchard, et al. v.
America 250 Found, et al., No. 22-cv-0497 (D.D.C.). The Commission and the American Battlefield Trust
were dismissed from the DC Litigation. Plaintiffs, here, were named as defendants in the amended
complaint in the DC Litigation but were voluntarily dismissed, without prejudice, prior to the effectuation
of service. Notwithstanding, the amended complaint in the DC Litigation alleges that the Plaintiffs in this
case mismanaged the Commission in relation to the remaining claims. The DC Litigation is currently in
the discovery stage of litigation. In the matter before this Court, Plaintiffs assert that their claims “aris[e]
Case 1:22-cv-00497-JMC Document 47-1 Filed 06/09/24 Page 3 of 5
Case 2:23-cv-04567-NIQA Document 17 Filed 06/07/24 Page 2 of 4

out of the Defendants filing of an abusive and frivolous lawsuit against Plaintiffs” — the DC Litigation.
(Pls.’ Resp., ECF 15, at p. 3).

Instantly, Defendants, pursuant to 28 U.S.C. § 1404(a), move to transfer venue to the D.D.C.
Section 1404(a) provides that for “the convenience of parties and witnesses, in the interest of justice, a
district court may transfer any civil action to any other district or division where it might have been brought
or to any district or division to which all parties have consented.” 28 U.S.C. § 1404(a). The purpose of
transferring venue under § 1404(a) “is to prevent the waste of time, energy, and money, and to protect
litigants, witnesses and the public against unnecessary inconvenience and expense.” Van Dusen v. Barrack,
376 U.S. 612, 616 (1964). However, a threshold inquiry under § 1404(a) is whether both the original venue
and the requested venue are proper. Jumara v. State Farm Ins. Co., 55 F.3d 873, 878 (3d Cir. 1995). If
venue is proper, the court must then undertake a balancing test to decide whether the convenience of the
parties and witnesses and the interest of justice would be better served by a transfer to a different forum.
Id. at 879; Coppola v. Ferrellgas, Inc., 250 F.R.D. 195, 197 (E.D. Pa. 2008). Although there is no definitive
formula or list of factors to consider, when determining whether a transfer is warranted, courts in this Circuit
weigh the following relevant private and public interests in its decision-making process:

The private interests have included: plaintiff's forum preference as
manifested in the original choice; the defendant’s preference, whether the
claim arose elsewhere; the convenience of the parties as indicated by their
relative physical and financial condition; the convenience of the witnesses
— but only to the extent that the witnesses may actually be unavailable for
trial in one of the fora; and the location of books and records (similarly
limited to the extent that the files could not be produced in the alternative
forum).

The public interests have included: the enforceability of the judgment;
practical considerations that could make the trial easy, expeditious, or
inexpensive; the relative administrative difficulty in the two fora resulting
from court congestion; the local interest in deciding local controversies at
home; the public policies of the fora; and the familiarity of the trial judge
with the applicable state law in diversity cases.

Jumara, 55 F.3d at 879-80 (internal citations omitted).

As to the initial threshold inquiry required under § 1404(a) — whether venue is proper in both the
transferor and transferee districts — Defendants argue that venue is improper in this district because, inter
alia, the events giving rise to Plaintiffs’ claims did not occur in Pennsylvania. Improper venue, however,
is a waivable defense. Fed. R. Civ. P. 12(h). To preserve a challenge regarding improper venue, a defendant
must raise the issue in a responsive pleading. Fed. R. Civ. P. 12(b)(3). Where a defendant does not
“interpose timely and sufficient objection to the venue,” the district court retains jurisdiction, even if the
venue would otherwise be improper. 28 U.S.C. § 1406(b).

Here, Defendants have not moved to dismiss this matter for improper venue pursuant to Federal
Rule of Civil Procedure (“Rule”) 12(b)(3), and the time to do so has passed. Instead, Defendants filed the
underlying motion to transfer venue pursuant to § 1404(a) for forum non conveniens. Therefore, this Court
finds that Defendants have waived any improper venue argument. As such, venue in this District is proper.
See Farley v. Cernak, 2016 WL 162238, at *2-3 (E.D. Pa. Jan. 13, 2016) (holding that the “[d]efendants’

2
Case 1:22-cv-00497-JMC Document 47-1 Filed 06/09/24 Page 4of5
Case 2:23-cv-04567-NIQA Document 17 Filed 06/07/24 Page 3 of 4

waiver makes [an] improper venue into a proper venue”). Venue is proper in the transferee district because
a “substantial part of the events . . . giving rise to the claim occurred” in the D.D.C. 28 U.S.C. § 1391()(2).

Having determined that both the original venue and the requested venue are proper, this Court must
now undertake a balancing test to decide whether the convenience of the parties and witnesses and the
interest of justice would be better served by a transfer to a different forum. Jumara, 55 F.3d at 878. To
support the transfer of venue request, Defendants argue that the D.D.C. is the more convenient forum
because all the facts underlying the case occurred in the District of Columbia, and, most importantly, the
pending DC Litigation warrants transfer of the case. Plaintiffs disagree, arguing primarily that Plaintiffs’
choice of forum (the Eastern District of Pennsylvania) should be given deference.

As to the Jumara private interest factors, although a plaintiff's choice of venue is generally given
deference, the plaintiff's choice receives less weight when none of the operative facts occurred in the
selected forum. Coppola, 250 F.R.D. at 197-98; Rowles v. Hammermill Paper Co., Inc., 689 F. Supp. 494,
496 (E.D. Pa. 1988) (noting that “plaintiff's choice of forum merits less deference when none of the conduct
complained of occurred in plaintiff's selected forum”). Here, the operative facts of the complaint occurred
in the District of Columbia; the allegedly “abusive and frivolous” lawsuit from which this case arises (the
DC Litigation) was filed in the D.D.C.; the Foundation’s offices are in Washington, D.C., and Alexandria,
Virginia; and the Commission’s principal place of business is in Washington, D.C. The only fact alleged
that occurred in Eastern District of Pennsylvania is the article published by the Philadelphia Magazine
about the DC Litigation that quoted Defendants. As such, Plaintiff's choice of venue is afforded little

weight.

In addition, Defendants argue that all of the Foundation’s documents are housed at the Foundation’s
offices in Washington, D.C., or Alexandra, Virginia, and many of the Foundation’s employees or former
employees that may serve as witnesses are in the District of Columbia area. Although Defendants Burchard
and Garlock are citizens of Virginia, Defendant Laymon is a citizen of Alabama, and Defendant Potts
currently resides in London, England, they “already prepared to be present in D.C. for [the DC Litigation]
and have close ties to that area.” (Defs.’ Mot., ECF 10-1, at p. 24). In contrast, Plaintiffs argue that the
key witness, Andrew Hohns, is a resident of Philadelphia, Pennsylvania, and that key evidence can be easily
accessed in this District. There is no indication by either party that relevant documents or key witnesses
could not be made available in either district.

As to the Jumara public interest factors, transfer of venue to the D.D.C. will likely result in an
easier, more expeditious, and less expensive trial. Primarily, the Honorable Jia M. Cobb, who sits in the
D.D.C., is currently presiding over the DC Litigation. “[C]ourts have found that the presence of related
cases in the transferee forum is a reason to grant a transfer.” Weber v. Basic Comfort Inc., 155 F. Supp. 2d
283, 286 (E.D. Pa. 2001). “This consideration is powerful enough to tilt the balance in favor of transfer
even when the convenience of parties and witnesses would suggest the opposite.” Id. (citing Blanning v.
Tisch, 378 F.Supp. 1058, 1061 (E.D. Pa. 1974)). Defendants argue that since Plaintiffs’ claims in this case
are based on the contention that Defendants’ filing of the DC Litigation was malicious and an abuse of
process, the adjudication and understanding of the validity of the claims in the DC Litigation will be
dispositive of the claims in the case here. Further, the local interest is limited. Plaintiffs argue that the DC
Litigation should not be a reason for transfer because there is also a related case in this forum — Giordano
v. Hohns, No. 23-cv-1614 (E.D. Pa.). However, this Court dismissed the Giordano case pursuant to Rule
12(b)(1) for lack of subject-matter jurisdiction, though an appeal is pending. See Giordano v. Hohns, 2024
WL 422087 (E.D. Pa. Feb. 2, 2024). Nevertheless, unlike the DC Litigation, any future decisions in
Giordano, district or appellate, have little to no bearing on the outcome of this case.
Case 1:22-cv-00497-JMC Document 47-1 Filed 06/09/24 Page5of5
Case 2:23-cv-04567-NIQA Document 17 Filed 06/07/24 Page 4 of 4

BY THE COURT:
/s/ Nitza I. Quiftones Alejandro
NITZA I. QUINONES ALEJANDRO

Judge, United States District Court

Having considered the relevant Jumara factors, this Court finds that they weigh in favor of transfer
of this matter to the D.D.C. pursuant to 28 U.S.C. § 1404(a). As such, Defendants’ motion is granted, and
this matter is transferred to the United States District Court for the District of Columbia.

4
